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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                    *      CRIMINAL DOCKET NO. 06 - 301

              v.                            *      SECTION: “K”

RUDOLPH JOHNSON                             *

                                    *       *      *

                                           ORDER

       Considering the foregoing,

       IT IS ORDERED that the United States of America’s Motion to Dismiss be

GRANTED, and that the charges pending against the defendant RUDOLPH JOHNSON in this

matter be and are hereby dismissed
                     Hello  This is awithout
                                      Test prejudice.
                                                           January
                                     27th day of __________________________, 2009.
       New Orleans, Louisiana, this ________




                                            HONORABLE STANWOOD R. DUVAL, JR.
                                            UNITED STATES DISTRICT JUDGE
